       Case 2:19-cv-08024-ODW-JC Document 37 Filed 12/19/19 Page 1 of 1 Page ID #:716

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL
 No.             2:19-cv-08024-ODW (JCx)                              Date    December 19, 2019
 Title           Alan Baker et al. v. Allstate Insurance Company et al.



 Present: The Honorable          Otis D. Wright, II, United States District Judge
                Sheila English                             Not reported                          N/A
                Deputy Clerk                       Court Reporter / Recorder               Tape No.
          Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                     Not present                                          Not present
 Proceedings:                           In Chambers
       On December 16, 2019, Defendant Allstate Insurance Company (“Allstate”) and
Plaintiffs Alan Baker and Linda B. Oliver (“Plaintiffs”) appeared before this Court to address
Allstate’s ex parte application (“Application”) requesting: (1) dismissal of the case;
(2) disqualification of Christopher G. Hook (“Hook”) as Plaintiffs’ Counsel; (3) Permanent
Injunction against Hook; and (5) Sanctions. (ECF No. 20.)

       The Court DENIES as moot Allstate’s request for dismissal because Plaintiffs terminated
Hook’s representation, knew nothing about Hook’s egregious conduct, and obtained new
counsel, Mr. Matthew B. O’Hanlon. Accordingly, Allstate’s request to disqualify Hook as
counsel is DENIED as moot, and the Court LIFTS the protective order suspending depositions.
Mr. Hook is terminated as counsel for Plaintiffs but shall continue to receive electronic case
filing notices in this matter until further order of the Court.

      After considering the Parties’ briefs and arguments at the hearing, the Court finds that
granting a Permanent Injunction within this venue, under these circumstances, is inappropriate.
Nor has Allstate met its burden to obtain a Permanent Injunction. Accordingly, Allstate’s
request for a Permanent Injunction is DENIED.

       During the hearing, Hook stipulated to paying monetary fees sanctions to compensate
Allstate for its “reasonable costs and fees” associated with its Application for ex parte relief.
Accordingly, Allstate IS ORDERED to file a memorandum of costs and fees and a proposed
order with the Court within fourteen days of this Order. Lastly, the Court will be reporting
Hook’s misconduct to the California State Bar and will recommend disciplinary action.

         IT IS HEREBY ORDERED.                                                          SE/.00

CV-90 (06/04)                             CIVIL MINUTES - GENERAL                                  Page 1 of 1
